            Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 1 of 22



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6
                                   UNITED STATES DISTRICT COURT
7                            FOR THE WESTERN DISTRICT OF WASHINGTON,
                                            AT TACOMA
8
     COUNTRY MUTUAL INSURANCE
9    COMPANY, an Illinois corporation                     Cause No. 3:20-cv-05337 RJB-TLF
     individually and as successor in interest to
10   HOLYOKE MUTUAL INSURANCE                             SUPPLEMENTAL DECLARATION OF
     COMPANY IN SALEM,                                    MISTY EDMUNDSON IN SUPPORT OF
11                                                        MOTION FOR SUMMARY JUDGMENT
                                    Plaintiff,
12
             vs.
13
     EVERGREEN LANDING, LLC
14
                                    Defendant.
15

16
             I, Misty Edmundson, make the following declaration certified to be true under penalty
17
     of perjury pursuant to 28 U.S. Code § 1746:
18
             1.       I am over eighteen years of age, competent to testify in this matter, and this
19
     declaration is based on direct personal knowledge.
20
             2.       I am one of the attorneys representing Country Mutual Insurance Company,
21
     individually and as a successor in interest to Holyoke Mutual Insurance Company in Salem in
22
     the above captioned matter.
23

     SUPPLEMENTAL DECLARATION OF MISTY EDMUNDSON IN                             SOHA & L ANG, P.S.
                                                                                   ATTORNEYS AT LAW
     SUPPORT OF MOTION FOR SUMMARY JUDGMENT – 1                             1325 FOURTH AVENUE, STE 2000
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-05337 RJB-TLF                       SEATTLE, WASHINGTON 98101
                                                                          (206) 624-1800/FAX (206) 624-3585
     1218.00009 mg232808fd
            Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 2 of 22



1            3.       Attached hereto as Exhibit A is a true and correct copy of the e-mail

2    correspondence from Linda Foreman to Misty Edmundson dated June 26, 2020, requesting the

3    motion for summary judgment be re-filed on July 24, 2020 and noting defendant’s response

4    brief was due the day following the Fourth of July holiday.

5            4.       Attached hereto as Exhibit B is a true and correct copy of the e-mail

6    correspondence from Misty Edmundson to Linda Foreman dated June 26, 2020.

7            4.       Attached hereto as Exhibit C is a true and correct copy of the e-mail

8    correspondence from Misty Edmundson to Linda Foreman dated June 30, 2020, regarding

9    Plaintiff’s willingness to re-note the motion for summary judgment for July 24, 2020.

10           5.       Attached hereto as Exhibit D is a true and correct copy of the e-mail

11   correspondence from Misty Edmundson to Linda Foreman dated July 16, 2020.

12           6.       Attached hereto as Exhibit E is a true and correct copy of the Notice of Motion

13   Re-Noted for July 24, 2020 [ECF 17].

14           I declare under penalty of perjury that the foregoing is true and correct.

15           Executed this 24th day of July, 2020 at Seattle, Washington.

16

17                                          By:     /s/Misty Edmundson
                                                  Misty Edmundson
18

19

20

21

22

23

     SUPPLEMENTAL DECLARATION OF MISTY EDMUNDSON IN                                SOHA & L ANG, P.S.
                                                                                      ATTORNEYS AT LAW
     SUPPORT OF MOTION FOR SUMMARY JUDGMENT – 2                                1325 FOURTH AVENUE, STE 2000
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-05337 RJB-TLF                          SEATTLE, WASHINGTON 98101
                                                                             (206) 624-1800/FAX (206) 624-3585
     1218.00009 mg232808fd
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              EXHIBIT A
               Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 4 of 22


Angela Murray

From:                             Linda Foreman <linda@foremansturm.com>
Sent:                             Friday, June 26, 2020 12:16 PM
To:                               Misty Edmundson
Cc:                               Angela Murray; Cristin Cavanaugh
Subject:                          RE: Country Mutual v. Evergreen Landing



I held off on everything because I was waiting for the Plaintiffs’ depositions to be completed, which
were supposed to be the first week in June. They have been continually put off and now they are
scheduled for Tuesday. My understanding is the delay arose because of COVID-19. Defense counsel
wanted in-person depositions. Ms. Casto claimed her medical condition put her at risk but agreed to
a deposition on June 30. The depositions could reveal facts raising the potential of covered loss;
extrinsic evidence CM is bound to consider. I think Magistrate Fricke will understand this and as
trial in the Thurson County case is a long way out (I don’t know if it is even noted but the COVID
situation has moved civile cases to the back.), your client is not prejudiced by paying defense
expenses.

Your recounting of our conversations is basically accurate, but casual converations are not the same
as coordinating as required in the Local Rules. But, if you want to make that pitch to the Court, fine.
Pressng forward in the current litigation slowdown and noting a motion requiring a response the day
following the 4th of July holiday is unnecessary. Further, we will argue CM is anxious to get a
judgment against its insured for reimbursement of defense fees in order to have payment priority
over a judgment the Plaintiffs may get a year from now. In that regard, I am urging Plaintiffs’
counsel to get involved in the DJ action. He could file a Motion to Intervene or I could move to
join. As his clients have an interest in the outcome, I think you should have included them to begin
with.

As for scheduling an MSJ—I assume transcripts will be available within two weeks of the
deposition. You and I have to review and incorporate in our motions. How about filing four weeks
from today, July 24?

Thanks for doing the Joint Status draft. Why don’t we talk on Monday afternoon, when I have had a
chance to review? Pick a time.



From: Misty Edmundson <edmundson@sohalang.com>
Sent: Friday, June 26, 2020 10:18 AM
To: Linda Foreman <linda@foremansturm.com>
Cc: Angela Murray <murray@sohalang.com>; Cristin Cavanaugh <cavanaugh@sohalang.com>
Subject: RE: Country Mutual v. Evergreen Landing

Linda,

We discussed, at length, that I would be filing an “early” motion for summary judgment and to my recollection, you
never stated that you wanted to file a cross-motion; rather you stated that you would likely request that the case be
                                                            1
               Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 5 of 22
stayed and that you thought you could defeat my motion. On May 11th, I confirmed with you, through email, that we
would be moving forward with our plan to swiftly litigate the coverage issues and that per our prior conversations, I
expected that you would likely file a motion to stay, which we would oppose. I heard nothing back.

Five weeks later, we filed our summary judgment motion on 6/18. Yet, we did not hear anything from you regarding
wanting to coordinate “cross-motions” until a full week later, in an after-hours email. All that said, I will discuss your
request with my client regarding rescheduling; to that end, are you actually planning on filing a cross-motion?

However, I disagree that any of the issues we have teed up in the summary judgment motion are premature or moot
and we are unlikely to agree to any sort of limited scope for summary judgment. I expect we also will make our Initial
disclosures by July 6th and I don’t anticipate a problem meeting that deadline.

We can talk today or Monday – I have availability either day, just let me know when works for you. In the interim, I will
go ahead and put together a draft Joint Status Report for discussion which I hope to email you later this
afternoon. Thanks.



Misty A. Edmundson
Soha & Lang, P.S.
1325 Fourth Avenue, Suite 2000
Seattle, WA 98101
tel: (206) 624-1800
fax: (206) 624-3585
e-mail: edmundson@sohalang.com
Visit www.NorthwestCoverageLaw.com , the Soha & Lang insurance coverage blog.

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From: Linda Foreman [mailto:linda@foremansturm.com]
Sent: Thursday, June 25, 2020 10:10 PM
To: Misty Edmundson
Subject: RE: Country Mutual v. Evergreen Landing

I wanted to address a few topics with you. Maybe our FRCP conference will work.

    1. FRCP 26(f) Conference should be completed by Monday. I am around tomorrow, Friday, and
       all day Monday.
    2. The Initial Disclosures are due July 6. I am working on ours and should have everything by
       that date.
    3. MSJ—The local rules require counsel to coordinate briefing on cross motions. You set your
       unilaterally. I assumed the main reason was to send a signal to Plaintiffs. Can we talk about
       rescheduling? Also, I propose we limit it to the duty to defend as the indemnity issues is
       premature and the fees reimbursement is moot if there is a duty to defend.

If you would rather take a shot at the Joint Status report, incorporating my suggestions, we could
dispense with the conference call and set a date to talk about the draft.
Let me know when you are available. Let me know when you are available.
                                                              2
             Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 6 of 22



              Linda L. Foreman
              Attorney
              T: 425-377-1100
              E: linda@foremansturm.com | foremansturm.com
              Seattle, Washington
Insurance Recovery, Construction, Real Estate & Development




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              EXHIBIT B
               Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 8 of 22


Angela Murray

From:                             Misty Edmundson
Sent:                             Friday, June 26, 2020 1:11 PM
To:                               Linda Foreman
Cc:                               Angela Murray; Cristin Cavanaugh
Subject:                          RE: Country Mutual v. Evergreen Landing


Linda,

Also, before I respond substantively to everything below (which I cannot do without speaking to my client – which I have
not done yet), I want to let you know it was never our intent, when we filed the motion for summary judgment, to have
your response due the day after a holiday. I honestly did not even do the math on the timing of the briefs – given the
Covid situation, holidays have become sort of obsolete to me since all the days are sort of blurring into one
another. We, of course, would be willing, regardless of whether we can agree to reschedule the actual motion itself, to
stipulate to an alternative briefing schedule so your brief would not be due right after the holiday.

In any event, we can discuss further on Monday.

Misty A. Edmundson
Soha & Lang, P.S.
1325 Fourth Avenue, Suite 2000
Seattle, WA 98101
tel: (206) 624-1800
fax: (206) 624-3585
e-mail: edmundson@sohalang.com
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From: Linda Foreman [mailto:linda@foremansturm.com]
Sent: Friday, June 26, 2020 12:16 PM
To: Misty Edmundson
Cc: Angela Murray; Cristin Cavanaugh
Subject: RE: Country Mutual v. Evergreen Landing

I held off on everything because I was waiting for the Plaintiffs’ depositions to be completed, which
were supposed to be the first week in June. They have been continually put off and now they are
scheduled for Tuesday. My understanding is the delay arose because of COVID-19. Defense counsel
wanted in-person depositions. Ms. Casto claimed her medical condition put her at risk but agreed to
a deposition on June 30. The depositions could reveal facts raising the potential of covered loss;
extrinsic evidence CM is bound to consider. I think Magistrate Fricke will understand this and as
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               Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 9 of 22
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Pressng forward in the current litigation slowdown and noting a motion requiring a response the day
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over a judgment the Plaintiffs may get a year from now. In that regard, I am urging Plaintiffs’
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join. As his clients have an interest in the outcome, I think you should have included them to begin
with.

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deposition. You and I have to review and incorporate in our motions. How about filing four weeks
from today, July 24?

Thanks for doing the Joint Status draft. Why don’t we talk on Monday afternoon, when I have had a
chance to review? Pick a time.



From: Misty Edmundson <edmundson@sohalang.com>
Sent: Friday, June 26, 2020 10:18 AM
To: Linda Foreman <linda@foremansturm.com>
Cc: Angela Murray <murray@sohalang.com>; Cristin Cavanaugh <cavanaugh@sohalang.com>
Subject: RE: Country Mutual v. Evergreen Landing

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never stated that you wanted to file a cross-motion; rather you stated that you would likely request that the case be
stayed and that you thought you could defeat my motion. On May 11th, I confirmed with you, through email, that we
would be moving forward with our plan to swiftly litigate the coverage issues and that per our prior conversations, I
expected that you would likely file a motion to stay, which we would oppose. I heard nothing back.

Five weeks later, we filed our summary judgment motion on 6/18. Yet, we did not hear anything from you regarding
wanting to coordinate “cross-motions” until a full week later, in an after-hours email. All that said, I will discuss your
request with my client regarding rescheduling; to that end, are you actually planning on filing a cross-motion?

However, I disagree that any of the issues we have teed up in the summary judgment motion are premature or moot
and we are unlikely to agree to any sort of limited scope for summary judgment. I expect we also will make our Initial
disclosures by July 6th and I don’t anticipate a problem meeting that deadline.

We can talk today or Monday – I have availability either day, just let me know when works for you. In the interim, I will
go ahead and put together a draft Joint Status Report for discussion which I hope to email you later this
afternoon. Thanks.



Misty A. Edmundson
Soha & Lang, P.S.
1325 Fourth Avenue, Suite 2000
                                                              2
              Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 10 of 22
Seattle, WA 98101
tel: (206) 624-1800
fax: (206) 624-3585
e-mail: edmundson@sohalang.com
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From: Linda Foreman [mailto:linda@foremansturm.com]
Sent: Thursday, June 25, 2020 10:10 PM
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I wanted to address a few topics with you. Maybe our FRCP conference will work.

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       premature and the fees reimbursement is moot if there is a duty to defend.

If you would rather take a shot at the Joint Status report, incorporating my suggestions, we could
dispense with the conference call and set a date to talk about the draft.
Let me know when you are available. Let me know when you are available.


                Linda L. Foreman
                Attorney
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                Seattle, Washington
Insurance Recovery, Construction, Real Estate & Development




                                                            3
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                 EXHIBIT C
              Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 12 of 22


Angela Murray

From:                             Misty Edmundson
Sent:                             Tuesday, June 30, 2020 2:46 PM
To:                               Linda Foreman
Cc:                               Angela Murray; Cristin Cavanaugh
Subject:                          RE: Country Mutual v. Evergreen Landing


Sure, please go ahead and add it in where you think it makes the most sense.

With regard to the pending SJ, we are willing to re-note it for 7/24, which would make your brief due on 7/20. If you do
indeed file a cross-motion on the duty to defend on 7/24 as you indicated you will, we will then agree to stipulate to the
court that our pending motion and your cross-motion should be decided together after all the briefing on your cross-
motion is complete. If you do not file a cross-motion by 7/24, we will request the court timely rule on our motion. Let
me know if that meets with your approval and we can get the renote for the motion filed. Thank you.

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immediately notify me by return email or telephone and delete the copy you received. Thank you.

From: Linda Foreman [mailto:linda@foremansturm.com]
Sent: Tuesday, June 30, 2020 12:55 PM
To: Misty Edmundson
Cc: Angela Murray; Cristin Cavanaugh
Subject: RE: Country Mutual v. Evergreen Landing

Misty,
This JSR looks fine to me. I checked with defense counsel on the trial date in the Underlying matter—
March 15, 2021. She expects it to get pushed out. Should we add this?


                Linda L. Foreman
                Attorney
                T: 425-377-1100
                E: linda@foremansturm.com | foremansturm.com
                Seattle, Washington
Insurance Recovery, Construction, Real Estate & Development




                                                            1
              Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 13 of 22

From: Misty Edmundson <edmundson@sohalang.com>
Sent: Monday, June 29, 2020 2:32 PM
To: Linda Foreman <linda@foremansturm.com>
Cc: Angela Murray <murray@sohalang.com>; Cristin Cavanaugh <cavanaugh@sohalang.com>
Subject: RE: Country Mutual v. Evergreen Landing

Linda, I made some additional changes. See attached. Do you want to try to have a call at 3? Thanks.

Misty A. Edmundson
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From: Linda Foreman [mailto:linda@foremansturm.com]
Sent: Monday, June 29, 2020 11:14 AM
To: Misty Edmundson
Cc: Angela Murray; Cristin Cavanaugh
Subject: RE: Country Mutual v. Evergreen Landing

Here are my changes to the JSR. I use an editing program, WORDRAKE, which takes out extraneous
words, passive voice, etc. I did not accept all its edits but many. Don’t take these personally.

Let me know when you want to talk.


                Linda L. Foreman
                Attorney
                T: 425-377-1100
                E: linda@foremansturm.com | foremansturm.com
                Seattle, Washington
Insurance Recovery, Construction, Real Estate & Development



From: Misty Edmundson <edmundson@sohalang.com>
Sent: Friday, June 26, 2020 12:56 PM
To: Linda Foreman <linda@foremansturm.com>
Cc: Angela Murray <murray@sohalang.com>; Cristin Cavanaugh <cavanaugh@sohalang.com>
Subject: RE: Country Mutual v. Evergreen Landing

Linda,


                                                            2
              Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 14 of 22
Thank you for your email below. We will consider your position. In the interim, please find attached a draft Joint Status
Report. I look forward to speaking with you on Monday. Thanks.

Misty A. Edmundson
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1325 Fourth Avenue, Suite 2000
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              Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 15 of 22



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                                                              4
             Case 3:20-cv-05337-RJB-TLF Document 20 Filed 07/24/20 Page 16 of 22
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                                                       5
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                 EXHIBIT D
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Angela Murray

From:                             Misty Edmundson
Sent:                             Thursday, July 16, 2020 1:20 PM
To:                               linda@foremansturm.com
Cc:                               Angela Murray; Cristin Cavanaugh
Subject:                          RE: Evergreen--Mediation & DJ


Linda,

I am unclear what your basis for a complaint to the Washington State Insurance Commissioner is. Our MSJ was originally
scheduled to be heard on July 10th. At the end of June, you contacted us, wanting us to take the motion off calendar and
refile it on July 24th. At that time, you noted that your response brief was due the Monday after the July 4th holiday. In
response, we offered to compromise and re-note the motion to be heard on July 24th, which would give you an extra
two weeks to file your response brief. You never responded to our overture, but you did not file a response brief by the
case deadline date either. As a courtesy to you, we re-noted the MSJ to July 24th anyway, even though there was never
an agreement with you to do so, and even in the face of the fact that by the time we re-noted, you had already missed
your opposition briefing deadline.

The issues presented in Country Mutual’s motion are purely questions of law properly before the court at this time. The
Washington Supreme Court has dictated to insurers that their correct course of action when they believe coverage is not
afforded and they are defending under reservation of rights, is to file a declaratory relief action and to promptly seek a
ruling on the coverage issues. Country Mutual has acted in conformance with this mandate from the Washington
Supreme Court. Specifically, the duty to defend is a question of law that is uniquely suited for resolution on early
summary judgment since the universe of material facts is extremely limited when, as is the case here, the complaint in
the Liability Action is adequately plead and unambiguous. If there is no possibility of coverage under the duty to defend
standard, then there would be no indemnity afforded either. The issues teed up in the MSJ are straightforward
questions of law timely presented for resolution.

There simply does not appear to be a basis to put off a hearing on Country Mutual’s pending motion indefinitely as you
appear to be demanding. If I have misunderstood your position or demand, please let me know. Thank you.



Misty A. Edmundson
Soha & Lang, P.S.
1325 Fourth Avenue, Suite 2000
Seattle, WA 98101
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fax: (206) 624-3585
e-mail: edmundson@sohalang.com
Visit www.NorthwestCoverageLaw.com , the Soha & Lang insurance coverage blog.

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other use of this message or its content is strictly prohibited. If you have received this communication in error, please
immediately notify me by return email or telephone and delete the copy you received. Thank you.

From: Linda Foreman <linda@foremansturm.com>
Sent: Wednesday, July 15, 2020 2:53 PM
                                                            1
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To: Misty Edmundson <edmundson@sohalang.com>; Cristin Cavanaugh <cavanaugh@sohalang.com>
Subject: FW: Evergreen--Mediation & DJ
Importance: High

Ladies,

See Amy Saack’s email below. The mediation is going to happen. Will CM put off the MSJ? Let me
know ASAP?
We will be contacting the court about a continuance and making a WOIC complaint. That all seems
unnecessary.


                Linda L. Foreman
                Attorney
                T: 425-377-1100
                E: linda@foremansturm.com | foremansturm.com
                Seattle, Washington
Insurance Recovery, Construction, Real Estate & Development



From: Saack, Amy <asaack@davisrothwell.com>
Sent: Wednesday, July 15, 2020 2:33 PM
To: Linda Foreman <linda@foremansturm.com>
Subject: RE: [External] Evergreen--Mediation

Hi Linda,

I think our adjuster will be interested in mediation and I have recommended it. I think anyone else I contact
from CM will want to defer to our adjuster (especially given the proposed mediator’s available dates), who will
be in the office again Monday and I can call her then.

Judge Berschauer is not available in August, but does have availability September 1 through 18 (except Sep.
17). He stated the last week in August may become available. He also cc’d Tom Westbrook on our inquiry,
which is fine.

Thanks,
Amy


_____

Amy L. Saack
ATTORNEY IN OREGON & WASHINGTON

T (503) 222-4422 F (503) 222-4428


200 SW Market Street, Suite 1800, Portland, OR 97201




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                 EXHIBIT E
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6
                                   UNITED STATES DISTRICT COURT
7                            FOR THE WESTERN DISTRICT OF WASHINGTON,
                                            AT TACOMA
8
     COUNTRY MUTUAL INSURANCE
9    COMPANY, an Illinois corporation                   Cause No. 3:20-cv-05337 RJB-TLF
     individually and as successor in interest to
10   HOLYOKE MUTUAL INSURANCE                           NOTICE OF MOTION RE-NOTED
     COMPANY IN SALEM,
11
                                    Plaintiff,
12
             vs.
13
     EVERGREEN LANDING, LLC
14
                                    Defendant.
15

16
             PLEASE TAKE NOTICE that Plaintiff Country Mutual Insurance Company,
17
     individually and as successor in interest to Holyoke Mutual Insurance Company in Salem’s
18
     (“Country Mutual”) Motion for Summary Judgment [ECF 11], which was originally noted for
19
     Friday July 10, 2020, is now re-noted for Friday, July 24, 2020.
20

21           DATED this 10th day of July, 2020.

22                                                  SOHA & LANG, P.S.

23

     NOTICE OF MOTION RE-NOTED – 1                                            SOHA & L ANG, P.S.
                                                                                 ATTORNEYS AT LAW
     USDC WD WA/TACOMA CAUSE NO. 3:20-cv-05337 RJB-TLF                    1325 FOURTH AVENUE, STE 2000
                                                                           SEATTLE, WASHINGTON 98101
                                                                        (206) 624-1800/FAX (206) 624-3585
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                                                                               22



1                                           By:    /s/Misty Edmundson
                                              Misty Edmundson, WSBA # 29606
2                                             Email address edmundson@sohalang.com
                                              Cristin A. Cavanaugh, WSBA # 53251
3                                             Email address cavanaugh@sohalang.com
                                              Soha & Lang, P.S.
4                                             1325 Fourth Avenue, Suite 2000
                                              Seattle, WA 98101-2570
5                                             Telephone: 206-624-1800
                                              Facsimile: 206-624-3585
6                                             Attorneys for Plaintiff Country Mutual
                                              Insurance Company, an Illinois corporation
7                                             individually and as successor in interest to
                                              Holyoke Mutual Insurance Company in Salem
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     NOTICE OF MOTION RE-NOTED – 2                                      SOHA & L ANG, P.S.
                                                                           ATTORNEYS AT LAW
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